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 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10   TERRY SONNEVELDT, et al.,                   Case No. 8:19-cv-01298-JLS-KES
                                                 Assigned to: Hon. Josephine L. Staton
11               Plaintiffs,
                                                 [Discovery Document: Referred to
12         vs.                                   Magistrate Judge Karen E. Scott]
13   MAZDA MOTOR OF AMERICA, INC.                MAZDA MOTOR
     D/B/A MAZDA NORTH AMERICAN                  CORPORATION’S RESPONSE TO
14   OPERATIONS and MAZDA MOTOR                  MAGISTRATE JUDGE SCOTT’S
     CORPORATION,                                MINUTE ORDER IN CHAMBERS
15                                               [Dkt. 108]
                 Defendants.
16                                               Complaint Filed: June 28, 2019
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         MC’S RESPONSE TO MAGISTRATE JUDGE SCOTT’S MINUTE ORDER IN CHAMBERS [Dkt. 108]
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 1         Mazda Motor Corporation’s (“MC”) respectfully files this response to Magistrate
 2   Judge Scott’s June 24, 2020 Order re Notice of Non-Compliance with Discovery Order
 3   (“Order”). Doc. 108.
 4         On June 22, 2020, MC filed its Motion for Review of this Court’s June 16, 2020
 5   Order (Doc. 103) and noticed the hearing date for the motion on September 25, 2020,
 6   as it was the first available hearing date on the District Court Judge’s motion calendar.
 7   See Doc. 107, ¶ 2. It was never MC’s intention to fail to comply with the Magistrate
 8   Judge’s order until September 25, 2020 for MC’s motion for review to be heard. To the
 9   contrary, as reflected in the below chronology, MC attempted to secure, prior to filing
10   its motion for review, an earlier hearing date (i.e., before the noticed July 31, 2020
11   deposition date). But for the reasons explained below, the parties could not agree on a
12   briefing schedule and hearing date, and file a joint stipulation in advance of MC’s
13   motion filing. The parties have since filed a joint stipulation to request that the Court
14   advance the date of MC’s motion hearing to July 24, 2020. See Doc. 107.
15         On June 16, 2020, following the informal telephone conference with the Court
16   earlier that same day, counsel for MC reached out to Plaintiffs’ counsel to request a
17   meet-and-confer pursuant to Local Rule 7-3 to discuss the substance of MC’s motion
18   for review of the Court’s June 16th order. See Declaration of Darlene M. Cho, filed
19   concurrently herewith (“Cho Decl.”), ¶ 2.
20         On June 18, 2020, counsel for the parties conferred regarding the substance of
21   MC’s motion for review. Id. ¶ 3. During the call, counsel for MC asked whether
22   Plaintiffs would consent to the filing of MC’s motion for review as early as on Friday,
23   June 19, 2020, rather than waiting the required 7 days under Local Rule 7-3 before filing
24   a motion. Id. ¶ 3. If approved by the Court, this would allow the motion for review to
25   be heard before the noticed deposition date of July 31, 2020.
26         On June 18, 2020, counsel for MC informed Plaintiffs’ counsel via email that the
27   first available hearing date on Judge Staton’s motion calendar was September 25, 2020.
28   Id. ¶ 4, Ex. A thereto. Counsel for MC asked Plaintiffs’ counsel if Plaintiffs would
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         MC’S RESPONSE TO MAGISTRATE JUDGE SCOTT’S MINUTE ORDER IN CHAMBERS [Dkt. 108]
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 1   agree to filing a joint stipulation/motion to secure an earlier hearing date of July 17 or
 2   July 24 (depending on when MC was able to finalize and file the motion), set the
 3   deadline for Plaintiffs to file an opposition to 7 days after the date the motion is filed,
 4   and set the deadline for the reply to 7 days after Plaintiffs file their opposition. Id.
 5         On June 19, 2020, Plaintiffs’ counsel responded stating that in his view, “[t]he
 6   proper procedure would be for MC to first file its motion and notice it for September
 7   25th, and then file a motion to advance the date of the hearing.” Id. ¶ 5, Ex. B thereto.
 8   Counsel further indicated that “[i]f MC is agreeable to following this procedure,
 9   Plaintiffs will agree to not oppose MC’s motion to advance the hearing date to July 24th
10   provided that Plaintiffs are given 14 days from the date they are served with MC’s
11   motion to file their opposition.” Id. Plaintiffs’ counsel further indicated that “[g]iven
12   that Local Rule 7-9 requires Plaintiffs’ opposition to be filed no later than 21 days prior
13   to the hearing date, if MC would like to advance the hearing date to July 24th, then MC
14   must file its motion today, such that Plaintiffs’ opposition would be due on July 3rd –
15   21 days prior to the July 24th hearing date.” Id.
16         Nonetheless, on June 19, 2020, and in an attempt to submit a stipulation to the
17   Court to request a briefing schedule and earlier hearing date in advance of MC’s motion,
18   counsel for MC sent a draft joint stipulation to Plaintiffs’ counsel setting forth the below
19   proposed schedule and hearing date for MC’s motion:
20     Date                         Event
21     June 26, 2020 (Fri.)         Deadline for MC to file motion for review with
22                                  memorandum of law that is no more than 15 pages in
                                    length (excluding tables and supporting exhibits and
23                                  declarations)
24
       July 3, 2020 (Fri.)          Deadline for Plaintiffs to file opposition to motion for
25                                  review of no more than 15 pages (excluding tables and
26                                  supporting exhibits and declarations)

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         MC’S RESPONSE TO MAGISTRATE JUDGE SCOTT’S MINUTE ORDER IN CHAMBERS [Dkt. 108]
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 1     Date                         Event
 2     July 10, 2020 (Fri.)         Deadline for MC to file reply brief of no more than 10
 3                                  pages (excluding tables and supporting exhibits and
                                    declarations)
 4
 5     July 17, 2020 at 10:30       Hearing on MC’s motion for review
       am (Fri.)
 6
     Id. ¶ 6, Ex. C thereto.
 7
           Plaintiffs’ counsel did not respond. Id. ¶ 7.
 8
           On June 22, 2020, MC filed its motion for review noticing its motion for review
 9
     for hearing on the first available motion date of September 25, 2020. Doc. 103; see also
10
     See Doc. 107, ¶ 2.
11
           On June 23, 2020, following the filing of MC’s motion, counsel for MC emailed
12
     Plaintiffs’ counsel to again request that the parties file a joint stipulation to advance the
13
     hearing date to July 24 and set deadlines for Plaintiffs’ opposition and MC’s reply. Id.
14
     ¶ 8, Ex. D thereto. Plaintiffs’ counsel responded in an email sent at 4:28 p.m. (PDT)
15
     stating that Plaintiffs would agree to filing a joint stipulation if MC agreed to provide
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     for Plaintiffs’ opposition to be filed by July 6th. Id. ¶ 9, Ex. E.
17
           Shortly after, on June 23, 2020, at 5:15 pm (PDT), Plaintiffs filed a notice of non-
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     compliance. Doc. 106; see also Cho Decl., ¶ 10, Ex. F.
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           On June 23, 2020, counsel for MC emailed Plaintiffs’ counsel another draft of
20
     the joint stipulation setting the deadline for Plaintiffs’ opposition on July 6, 2020 and
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     MC’s deadline to file a reply brief on July 13, 2020. Id.
22
           On June 24, 2020, at 10:18 a.m. (PDT), soon after Plaintiffs’ counsel approved,
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     MC filed the parties’ joint stipulation with the Court proposing the following briefing
24
     schedule for the remaining briefs and hearing date for MC’s motion for review:
25
       Date                         Event
26
27     July 6, 2020 (Mon.)          Deadline for Plaintiffs to file opposition to motion for
                                    review
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         MC’S RESPONSE TO MAGISTRATE JUDGE SCOTT’S MINUTE ORDER IN CHAMBERS [Dkt. 108]
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 1       Date                        Event
 2       July 13, 2020 (Mon.)        Deadline for MC to file reply brief
 3
         July 24, 2020 at 10:30      Hearing on MC’s motion for review
 4       am (Fri.)
 5   See id. ¶ 11; see also Doc. 107.
 6            MC apologizes and regrets it did not notify the Court earlier of this chronology.
 7   However, as reflected in this chronology, it was never MC’s intention to fail to comply
 8   with the Magistrate Judge’s order while waiting until September 25, 2020 for MC’s
 9   motion for review to be heard. To the contrary, MC attempted to secure an earlier
10   hearing date prior to filing, but the parties could not agree on a briefing schedule and
11   hearing date in advance of MC’s filing.1
12       Dated: June 24, 2020                     SHOOK, HARDY & BACON L.L.P.
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14                                                By: /s/ Michael L. Mallow
                                                         Michael L. Mallow
15                                                       Attorney for Defendant
                                                         Mazda Motor Corporation
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      On June 19, 2020, counsel for MC also suggested to Plaintiffs’ counsel that the parties
     request an informal telephone conference with the Court immediately to address the
28   impact of MC’s motion for review on the Court’s June 16th Order. Plaintiffs did not
     consent to using this procedure. See Cho Decl., ¶ 12, Ex. G.
                                                5
            MC’S RESPONSE TO MAGISTRATE JUDGE SCOTT’S MINUTE ORDER IN CHAMBERS [Dkt. 108]
